Case 2:20-cv-01899-AB-AS Document 61 Filed 10/22/21 Page 1 of 7 Page ID #:503




    1    Ara Sahelian, Esq., [CBN 169257]
    2    SAHELIAN LAW OFFICES
         25108 Marguerite pkwy, Ste A
    3    Mission Viejo, CA 92692
    4    949. 859. 9200
         e-mail: contact@sahelianlaw.com
    5
         Attorneys for Farm-To-Table Eats, Inc.
    6
    7
    8                    UNITED STATES DISTRICT COURT
    9                   CENTRAL DISTRICT OF CALIFORNIA
                           (Western Division - Los Angeles)
   10
    11
   12
   13
   14
                                                   CASE NO.: 2:20-cv-01899-AB-AS
   15    Brian Whitaker,
                     Plaintiff,                    The Honorable André Birotte Jr.
   16
                        vs.
   17    Farm-To-Table Eats, Inc.                  REPLY BRIEF IN SUPPORT OF
   18               Defendant.                     DEFENDANT'S MOTION FOR
   19
                                                   ATTORNEY FEES

   20                                              Complaint Filed: 2/27/2020
   21                                              Trial: 11/2/2021
   22    .                                         Hearing Date: 11/5/2021
   23                                              Time: 10:00AM
   24
   25
   26
   27
   28


                 REPLY BRIEF IN SUPPORT OF DEFENDANT'S MOTION FOR ATTORNEY FEES - Page 1 -
Case 2:20-cv-01899-AB-AS Document 61 Filed 10/22/21 Page 2 of 7 Page ID #:504




     1       REPLY BRIEF IN SUPPORT OF DEFENDANT'S MOTION FOR
     2                                     ATTORNEY FEES
     3           Pre-Motion Conference
     4
                 Plaintiff argues that Defendant did not satisfy its obligation to confer
     5
     6     prior to filing this Motion. That doesn't square with counsel's comments
     7
           made by e-mail on September 22. On September 22, this attorney contacted
     8
     9     counsel, in writing, asking if he wished to speak further relative to the
   10
           Motion. (see Exhibit A). Plaintiff responded, "I’m pretty sure we talked
    11
   12      about this on 8/31 at some length. Your 7-3 obligations have been
   13
           fulfilled." (see Exhibit B).
   14
   15            Plaintiff further contends that a billing statement was not available for
   16
           review. The billing statement can be found on the docket.
   17
   18            Background
   19            The opening brief argued that Defendant was entitled to attorney’s
   20
   21      fees on two grounds:
   22                    1. Plaintiff’s prosecution of the case was frivolous, and
   23
   24                    2. Defendant prevailed and Plaintiff does not qualify as a civil
   25      rights plaintiff of limited means.
   26
                 In his Opposition, Plaintiff sidesteps both issues. On the issue of
   27
   28      frivolity, Plaintiff will not answer a simple question: is it not true that


                    REPLY BRIEF IN SUPPORT OF DEFENDANT'S MOTION FOR ATTORNEY FEES - Page 2 -
    2051
Case 2:20-cv-01899-AB-AS Document 61 Filed 10/22/21 Page 3 of 7 Page ID #:505




     1     anyone with a measuring tape and modicum of exposure to the ADA
     2
           Standards would have recognized that it was not possible to place an
     3
     4     accessible tables outside the Restaurant?
     5
                 On the second issue, as to whether Plaintiff is a civil rights plaintiff of
     6
     7     limited means, Plaintiff will not confirm that his earnings as a serial ADA
     8
           filer exceed $1 million annually.
     9
   10            A non-moving party's failure to respond to a claim in its opposition
    11
           constitutes a concession of that claim. Foster v. City of Fresno, 392 F.Supp.
   12
   13      2d 1140, 1146-47 (E.D. Cal. 2005). With no direct response as to these two
   14
           arguments, the Court should have no difficulty ruling that Defendant must
   15
   16      be awarded attorney's fees as the prevailing party on the grounds (a) that the
   17      action and its continued prosecution was frivolous, and (b) that even if it
   18
   19      were not frivolous, Defendant is still entitled to attorney’s fees as the
   20      prevailing party. Plaintiff, Brian Whitaker, is not a civil rights plaintiff of
   21
           limited means.
   22
   23            Defendant is entitled to attorney’s fees on the grounds Plaintiff’s
   24
   25
           prosecution of the case was frivolous. Plaintiff’s claims had no legal or

   26      factual basis
   27
   28            It is impossible to place wheelchair-accessible tables outside Rabano.


                    REPLY BRIEF IN SUPPORT OF DEFENDANT'S MOTION FOR ATTORNEY FEES - Page 3 -
    2051
Case 2:20-cv-01899-AB-AS Document 61 Filed 10/22/21 Page 4 of 7 Page ID #:506




     1     Rabano is a small restaurant. The sidewalk outside Rabano is narrow. It can
     2
           accommodate a few small bistro style tables, but that's it.
     3
     4           Plaintiff alleged that he needed wheelchair accessible tables because
     5
           he wanted to dine outdoors. A classic wheelchair accessible table provides
     6
     7     28 inches in knee clearance (vertically), and 30 inches of lateral clearance
     8     (meaning the horizontal distance between the legs of the table). Having filed
     9
   10      1500 cases, Plaintiff would have known this.
    11
                 Even if Plaintiff were ignorant of these elementary facts, and he was
   12
   13      not, his attorneys had reason to know (after filing 40,000 or so ADA
   14      accessibility cases) that placing accessible tables outdoors on the sidewalk at
   15
   16      Rabano was not readily achievable. Plaintiff did not need to see the 3-D

   17      illustrations commissioned by Defendant to realize that.
   18
                 Why did Plaintiff file and continue to prosecute this lawsuit when he
   19
   20      undoubtedly knew that placing wheelchair accessible tables on the sidewalk
   21
           was not readily achievable? The answer is simple: an ADA accessibility
   22
   23      lawsuit, no matter how meritless, has settlement value. This is true
   24
           particularly when the lawsuit is brought against a small business. The
   25
   26      owners are given a choice: pay up or risk being exposed to a frightening
   27
           amount in attorney’s fees if you lose. Plaintiff’s firms (and Potter Handy
   28


                   REPLY BRIEF IN SUPPORT OF DEFENDANT'S MOTION FOR ATTORNEY FEES - Page 4 -
    2051
Case 2:20-cv-01899-AB-AS Document 61 Filed 10/22/21 Page 5 of 7 Page ID #:507




     1     leads the pack) have found from experience that most business owners will
     2
           settle, irrespective of the merits of a lawsuit.
     3
     4           Plaintiff no doubt owns a measuring tape. And having filed 1500
     5
           cases, Plaintiff, no doubt, has that modicum of exposure to the ADA
     6
     7     standards. But Plaintiff has no incentive to dismiss. With ample cash in his
     8
           account, he knows: all he has to do is wait. Most business owners will settle
     9
   10      sooner or later.
    11           In effect, Plaintiff does not advance a plausible explanation as to why
   12
   13
           he filed and continued to prosecute this lawsuit. He knows the reason is

   14      greed, but, understandably, he is reluctant to admit it. The Court should
   15
           award attorney’s fees to the Defendant. Plaintiff has given us no reason to
   16
   17      believe the lawsuit was not frivolous.
   18
                 Defendant is entitled to attorney’s fees on the grounds it prevailed
   19
   20      - and Plaintiff does not qualify as a civil rights plaintiff of limited
   21
           means.
   22
   23            For Plaintiff to be shielded from having to pay his adversary’s fees in
   24
           an ADA suit, he must be a plaintiff of limited means. He does not acquire
   25
   26      any protection if he is financially able to sustain prolonged litigation.
   27
                 In Christiansburg Garment Co., v. Equal Employment Opportunity
   28


                    REPLY BRIEF IN SUPPORT OF DEFENDANT'S MOTION FOR ATTORNEY FEES - Page 5 -
    2051
Case 2:20-cv-01899-AB-AS Document 61 Filed 10/22/21 Page 6 of 7 Page ID #:508




     1     Commission, 434 U.S. 412, 417 (1978), the Supreme Court reasoned that a
     2
           prevailing Plaintiff, who is usually of limited means, should be awarded
     3
     4     attorney’s fees since he is the chosen instrument of Congress to vindicate 'a
     5
           policy that Congress considered of the highest priority. Christiansburg
     6
     7     noted that one of Congress' primary purposes in enacting the section was to
     8
           "make it easier for a plaintiff of limited means to bring a meritorious suit."
     9
   10      New York Gaslight Club v. Carey, 447 U.S. 54, 63. (Emphasis added). “The
    11     provision was designed to "make it easier for a plaintiff of limited means to
   12
   13      bring a meritorious suit." Mitchell v. Office of L.A. County Superintendent

   14      of Sch., 805 F.2d 844 (9th Cir., 1986), 847.
   15
   16            Plaintiff is not a man of limited means. Defendant proposed that his
   17      annual income exceeded $1 million. Plaintiff does not deny it. This Court,
   18
           therefore, need not find frivolity in order to award attorney's fees. Plaintiff’'s
   19
   20      failure to respond to the issue is a concession.
   21
                 Plaintiff does not necessarily need an accessible dining table
   22
   23            In Whitaker v. Reeder; Il Fornaio (America) Corp, Case Number:
   24
           2:19-cv-04341-SVW-AFM, The Honorable Stephen V. Wilson allowed
   25
   26      Defendant to bring an outdoor dining table into the courtroom for Mr.
   27      Whitaker to try out. Within seconds of sliding his chair under the table, Mr.
   28


                    REPLY BRIEF IN SUPPORT OF DEFENDANT'S MOTION FOR ATTORNEY FEES - Page 6 -
    2051
Case 2:20-cv-01899-AB-AS Document 61 Filed 10/22/21 Page 7 of 7 Page ID #:509




     1     Whitaker testified that he would be able to dine at that table. He had
     2
           maintained all along that the outdoor tables at the Il Fornaio Restaurant,
     3
     4     Beverly Hills,were not be accessible to him. (See Exhibit C, deposition
     5     testimony of Brian Whitaker taken before trial.) The relevant clip of the trial
     6
           video can be found at this link:
     7
                 https://drive.google.com/drive/folders/1Wea3qr0vs33jW1UwG5S21M1i1poA1xZD?usp=sharing
     8
              For all the foregoing reasons, Defendant respectfully requests that the
     9
   10      Court award Defendant reasonable attorney's fees.
    11
              Respectfully submitted:
   12
                                                                              SAHELIAN LAW OFFICES
   13
   14
   15
   16                                                                   ___________________________
   17                                                                                          Ara Sahelian, Esq.
   18
   19
   20
   21
   22
   23
   24
   25
   26
   27
   28


                    REPLY BRIEF IN SUPPORT OF DEFENDANT'S MOTION FOR ATTORNEY FEES - Page 7 -
    2051
